

People v McNaughty (2019 NY Slip Op 07419)





People v McNaughty


2019 NY Slip Op 07419


Decided on October 16, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 16, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
JOHN M. LEVENTHAL
ROBERT J. MILLER
COLLEEN D. DUFFY
HECTOR D. LASALLE, JJ.


2017-06627
 (Ind. No. 3709/16)

[*1]The People of the State of New York, respondent,
vAnthony McNaughty, appellant.


Janet E. Sabel, New York, NY (Jonathan Garelick of counsel), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Gamaliel Marrero of counsel; Jade W. Sobh on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Deborah A. Dowling, J.), imposed May 25, 2017, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The record demonstrates that the defendant knowingly, voluntarily, and intelligently waived his right to appeal (see People v Bryant, 28 NY3d 1094, 1096; People v Sanders, 25 NY3d 337, 341; People v Lopez, 6 NY3d 248, 256). The defendant's valid waiver of his right to appeal precludes appellate review of his contention that the sentence imposed was excessive (see People v Lopez, 6 NY3d at 255-256).
MASTRO, J.P., LEVENTHAL, MILLER, DUFFY and LASALLE, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








